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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

 TEXAS ASSOCIATION FOR MONEY
 SERVICES BUSINESSES (TAMSB); HIGH
 VALUE, INC.; REYNOSA CASA DE
 CAMBIO, INC.; NYDIA REGALADO d/b/a
 BEST RATE EXCHANGE; MARIO
 REGALADO          d/b/a     BORDER                      Civil Case No. 5:25-cv-00344-FB
 INTERNATIONAL SERVICES; LAREDO
 INSURANCE SERVICES, LLC; E.MEX.
 FINANCIAL SERVICES, INC.; R & C, INC.
 d/b/a TEMEX MONEY EXCHANGE; SAN
 ISIDRO MULTI SERVICES, INC.; CRIS
 WIN INC. d/b/a BROWNSVILLE CASA DE
 CAMBIO; ESPRO INVESTMENT LLC
 d/b/a LONESTAR MONEY EXCHANGE;
 and ARNOLDO GONZALEZ, Jr.,

         Plaintiffs,

 v.

 PAM BONDI, ATTORNEY GENERAL OF
 THE UNITED STATES; SCOTT BESSENT,
 SECRETARY OF THE TREASURY;
 UNITED STATES DEPARTMENT OF THE
 TREASURY;     ANDREA       GACKI,
 DIRECTOR OF THE FINANCIAL CRIMES
 ENFORCEMENT      NETWORK;     and
 FINANCIAL CRIMES ENFORCEMENT
 NETWORK,

         Defendants.


      PLAINTIFFS’ NOTICE OF AMICUS CURIAE BRIEF FILED IN SOUTHERN
                         DISTRICT OF CALIFORNIA


        Plaintiffs respectfully notify the Court of an amicus brief filed in a case in the Southern

District of California raising identical claims to those brought here. Plaintiffs bring this brief to the

Court’s attention and attach the filing for the Court’s convenience in the event it is useful in



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considering the issues here. See Exhibit 1 (Unopposed Brief of Amicus Curiae Money Services

Business Association, Inc. and accompanying declarations filed in Support of Plaintiffs’ Motion

for a Preliminary Injunction in Novedades y Servicios, Inc. v. Financial Crimes Enforcement

Network, No. 3:25-cv-00886-JLS-DDL (S.D. Cal.) (ECF 41)).

Dated: May 10, 2025                                  Respectfully submitted,

                                                     /s/ Jeffrey Rowes
Martin Golando                                       Jeffrey Rowes (TX Bar No. 24104956)*
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                                                     Robert E. Johnson (DC Bar No. 1013390)*
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Regalado d/b/a Best Rate Exchange; Mario             Arlington, VA 22203
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Services; Laredo Insurance Services, LLC;            bsanz@ij.org
E.Mex. Financial Services, Inc.; R & C, Inc.         Katrin Marquez (FL Bar No. 1024765)*
d/b/a Temex Money Exchange; San Isidro               INSTITUTE FOR JUSTICE
Multi Services, Inc.; Cris Win Inc. d/b/a            2 South Biscayne Blvd., Suite 3180
Brownsville Casa De Cambio; and Espro                Miami, FL 33131
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                                                     * Admitted pro hac vice
                                                     Attorneys for Plaintiffs Arnoldo Gonzalez, Jr.
                                                     and High Value, Inc.




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                                  CERTIFICATE OF SERVICE

          I certify that on May 10, 2025, I electronically filed the foregoing document with the Clerk

of Court using the CM/ECF system, which will provide electronic service upon all attorneys of

record.

                                                       /s/ Jeffrey Rowes
                                                       Jeffrey Rowes (TX Bar No. 24104956)*




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